Case 2:04-CV-02246-SHI\/|-tmp Document 30 Filed 05/19/05 Page 1 of 2 Page|D 44

 

 

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IN THE UNITED sTATEs DISTRICT CoURT r_ '
FoR THE WEsTERN DIsTRlCT oF TENNESSEE 93 F"iii? 19 PM 21 g g
WESTERN DivlsloN
JAMES E, HARRELL, JR.,
Plaintift`,
vs 04-2246-Ma/P

FEDERAL EXPRESS CORPORATION,

Defendant.

 

ORDER GRANTING MOTION REQUESTING SCHEDULING CONFERENCE

 

Before the court is the Plainti ff’ s and Defendant’s April 28, 2005 joint motion requesting
that a scheduling conference be set in this matter. For good cause shown, the motion is granted.

A scheduling conference is set for Friday, June 3, 2005 at 1:30 p.m.

IT is So oRDERED this / 5 'V\day ofMay, 2005.

\M/MW,_

SAMUEL H. MAYS, ]R.
UNITED STATES DISTRICT JUDGE

 

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Honorablc Samucl Mays
US DISTRICT COURT

